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 1   HOLLAND & KNIGHT LLP                          KILPATRICK, TOWNSEND & STOCKTON LLP

 2   Kristopher L. Reed (SBN 235518)               April E. Isaacson (SBN 180638)
     kris.reed@hklaw.com                           aisaacson@kilpatricktownsend.com
 3   One Arts Plaza                                Two Embarcadero Center, Suite 1900
     1722 Routh Street, Suite 1500                 San Francisco, CA 94111
 4   Dallas, TX 75201                              Tel: (415) 576-0200 / Fax: (415) 576-0300
     Tel: (214) 964-9500 / Fax: (214) 964-9501
 5                                                 Kevin M. Bell (admitted pro hac vice)
     Edward J. Mayle (admitted pro hac vice)       kbell@ktslaw.com
 6   edward.mayle@hklaw.com                        1400 Wewatta St., Suite 600
     1801 California Street, Suite 5000            Denver, CO 80202
 7   Denver, CO 80202                              Tel: (303) 571-4000 / Fax: (303) 571-4321
     Tel: (303) 974-6660 / Fax: (303) 974-6659
 8                                                 Andrew W. Rinehart (admitted pro hac vice)
     Attorneys for Defendants                      arinehart@kilpatricktownsend.com
 9                                                 1001 West Fourth Street
                                                   Winston-Salem, NC 27101
10                                                 Tel: (336) 607-7300 / Fax: (336) 607-7500

11                                                 Kathleen R. Geyer (admitted pro hac vice)
                                                   kgeyer@kilpatricktownsend.com
12                                                 1420 Fifth Ave., Ste. 3700
                                                   Seattle, WA 98101
13                                                 Tel: (206) 467-9600 / Fax: (206) 623-6793

14                                                 Attorneys for Defendants

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16
                                 UNITED STATES DISTRICT COURT
17
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        SAN JOSE DIVISION
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20
     REGENTS OF THE UNIVERSITY OF                Civil Action No. 18-cv-00821-EJD-NMC
21   MINNESOTA,

22                 Plaintiff,                    DEFENDANTS’ NOTICE OF MOTION
                                                 AND MOTION TO STRIKE PORTIONS
23          v.                                   OF PROFESSOR McLAUGHLIN’S
                                                 OPENING REPORT
24   LSI CORPORATION AND
     AVAGO TECHNOLOGIES U.S. INC.,               Date: December 12, 2024
25                                               Time: 9:00 A.M.
                   Defendants.                   Place: Courtroom 4 – 5th Floor
26
                                                 Hon. Edward J. Davila
27
                                          REDACTED VERSION
28
     DEF. NOTICE OF MOTION AND MOTION TO STRIKE PORTIONS OF PROF.
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 1                                        NOTICE OF MOTION

 2   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on December 12, 2024, at 9:00 A.M. or soon thereafter as

 4   counsel may be heard by the Honorable Judge Davila, in the United States District Court for the

 5   Northern District of California, located at 280 South 1st Street, San Jose, California, Defendants

 6   LSI Corporation and Avago Technologies U.S. Inc. (collectively, “LSI”) will move and hereby do

 7   move to strike portions of Prof. McLaughlin’s opening report that advance new infringement

 8   theories and claim constructions.

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 1   DATED: October 7, 2024          Respectfully submitted,

 2                                   By: /s/ April E. Isaacson
                                         HOLLAND & KNIGHT LLP
 3
                                         Kristopher L. Reed (SBN 235518)
 4                                       kris.reed@hklaw.com
                                         One Arts Plaza
 5                                       1722 Routh Street, Suite 1500
                                         Dallas, TX 75201
 6                                       Tel: (214) 964-9500 / Fax: (214) 964-9501
 7                                       Edward J. Mayle (admitted pro hac vice)
                                         edward.mayle@hklaw.com
 8                                       1801 California Street, Suite 5000
                                         Denver, CO 80202
 9                                       Tel: (303) 974-6660 / Fax: (303) 974-6659
10
                                         KILPATRICK, TOWNSEND & STOCKTON LLP
11
                                         April E. Isaacson (SBN 180638)
12                                       aisaacson@kilpatricktownsend.com
                                         Two Embarcadero Center, Suite 1900
13                                       San Francisco, CA 94111
                                         Tel: (415) 576-0200 / Fax: (415) 576-0300
14
                                         Kevin M. Bell (admitted pro hac vice)
15                                       kbell@ktslaw.com
                                         1400 Wewatta St., Suite 600
16                                       Denver, CO 80202
                                         Tel :(303) 571-4000 / Fax: (303) 571-4321
17
                                         Andrew W. Rinehart (admitted pro hac vice)
18                                       arinehart@kilpatricktownsend.com
                                         1001 West Fourth Street
19                                       Winston-Salem, NC 27101
                                         Tel: (336) 607-7300 / Fax: (336) 607-7500
20
                                         Kathleen R. Geyer (admitted pro hac vice)
21                                       kgeyer@kilpatricktownsend.com
                                         1420 Fifth Ave., Ste. 3700
22                                       Seattle, WA 98101
                                         Tel: (206) 467-9600 / Fax: (206) 623-6793
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                                         Attorneys for Defendants
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